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                                                                   Friday, 24 August, 2018 06:10:23 PM
                                                                           Clerk, U.S. District Court, ILCD

                          UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF ILLINOIS
                                URBANA DIVISION

UNITED STATES OF AMERICA,                 )
                                          )
       Plaintiff,                         )
                                          )
vs.                                       )       Crim. No. 17-20037
                                          )
BRENDT A. CHRISTENSEN,                    )       Hearing Requested
                                          )
       Defendant.                         )

MOTION TO STRIKE NOTICE OF INTENT TO SEEK THE DEATH PENALTY ON
  THE GROUND THAT CAPITAL PUNISHMENT VIOLATES THE EIGHTH
                         AMENDMENT

       On the last day of the last 2014-15 Term, Justices Breyer and Ginsburg issued a

clarion call for reconsideration of the constitutionality of the death penalty, aligning

themselves with the views of several other justices who have expressed similar

sentiments in the four decades since the Court reversed its earlier decision that capital

punishment violates the Eighth Amendment. See Glossip v. Gross, __ U.S. __; 135 U.S.

2726, 2760 (2015)(Breyer and Ginsburg, JJ., dissenting) Answering that call, the

Connecticut Supreme Court shortly thereafter held that “the death penalty is so out of

step with our contemporary standards of decency as to violate the state constitutional

ban on excessive and disproportionate punishment. State v. Santiago, 318 Conn. 1, 46

(2015). Mr. Christensen asks this Court to do the same.

I.     INTRODUCTION

       On June 29, 1972, the United State Supreme Court held that “the imposition and

carrying out of the death penalty . . . constitutes cruel and unusual punishment in


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violation of the Eighth and Fourteenth Amendments.” Furman v. Georgia, 408 U.S. 238,

239-240 (1972). Four years later, in a series of cases decided the same day, the Court

reversed field and held that statutes that sufficiently cabin juror discretion by

identifying factors which purport to either aggravate or mitigate a capital offense could

sufficiently address Eighth Amendment concerns. See Gregg v. Georgia, 428 U.S. 153

(1976)(lead case). Evidence developed in the intervening 39 years has tempered the

promise of Gregg. Recurring exonerations of defendants sentenced to die by a flawed

system, unmasked by tools unavailable in 1976, have demonstrated the incompatibility

of capital punishment with an enlightened and progressing society - as has evidence of

racial, gender and geographic biases, as well as protracted delays which undermine

purported justifications for the death penalty and generate detention of death row

inmates for decades under conditions which themselves raise Eighth Amendment

issues.

          The United States has noticed its intent to seek the death penalty in this case.

Dkt. 54. Mr. Christensen moves to strike that notice because the evidence strongly

suggests that imposition of capital punishment in the United States is no longer

consonant with the values of a progressive 21st Century society and thus violates the

Eighth Amendment. Ms. Christensen is aware of this Court’s duty to apply the doctrine

of stare decisis and that the Supreme Court has not, as yet, declared capital punishment

unconstitutional – indeed it has not revisited the issue of the constitutionality per se of

the death penalty since the Gregg line of cases in 1976. Instead, the Court has embarked

on a course of circumscribing its application, holding the Eighth Amendment bars the


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 penalty as applied to certain categories of offenders or cases. See Coker v. Georgia, 428

 U.S. 153 (1976) (rape of adult woman); Enmund v. Florida, 458 U.S. 782 (where no intent

 to kill or use deadly force); Atkins v. Virginia, 536 U.S. 304 (2002) (mentally retarded

 offenders); Roper v. Simmons, 543 U.S. 551 (juveniles under 18 years old); Kennedy v.

 Louisiana, 554 U.S. 407 (2008) (rape of a child not resulting in death and where no intent

 to kill).

         The Eighth Amendment looks to “contemporary standards regarding the

 infliction of punishment.” Woodson v. North Carolina, 428 U.S. 280 (1976) (emphasis

 added). In terms of a maturing society, 1976 was light years away, as evidenced not

 only by then unimagined technological innovations such as the internet and social

 media, but also progressing social and cultural shifts such as the right of same-sex

 couples to marry, a development that would have been inconceivable forty years ago.

 The changing mores of an evolving and maturing society and new evidence concerning

 the operation of the death penalty has similarly unraveled the 1976 construct for capital

 punishment.

II.      THE DEATH PENALTY VIOLATES THE EIGHTH AMENDMENT IF
         IMPOSED ARBITRARILY AND CAPRICIOUSLY

         The Eighth Amendment’s prohibition against “cruel and unusual punishment” is

 unadorned. The imprecise formulation was deliberate as the Framers knew that what

 constituted such punishment would be clarified and interpreted in conformity with

 “the evolving standards of decency that mark a maturing society." Trop v. Dulles, 356

 U.S. 86, 101 [1958]. Accordingly, the Supreme Court has held various punishments



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barred by the Eighth Amendment irrespective of how they likely would have been so

considered in 1788. See Weems v. United States, 217 U.S. 349 (1910) (20 years at hard labor

in chains for falsifying a public document); Roper v. Simmons, supra (Eighth Amendment

bars death penalty for offenses committed by juveniles); Atkins v. Virginia, supra (same

for offenses committed by those suffering from mental retardation). As Weems noted, a

court’s task under the Eighth Amendment is to ascertain not only what punishments

were constitutionally allowed in the past, but those which today accord with society’s

evolving knowledge and values: “Time works changes, brings into existence new

conditions and purposes . . . In the application of a constitution, therefore, our

contemplation cannot be only of what has been but of what may be.” 217 U.S. at 373.

Although arriving at different conclusions as to its application, no Supreme Court case

in the 105 years since Weems has repudiated the principle that the concept of what

constitutes “cruel and unusual” punishment under the Eighth Amendment is not set in

stone.

         The issue presented here is whether the death penalty as practiced and imposed

in the United State at this time is “arbitrarily and capriciously” applied in a manner

inconsistent with the Eighth Amendment. This formulation follows directly from

Furman and Gregg. See Gregg, 428 U.S. at 188 (“Because of the uniqueness of the death

penalty, Furman held that it could not be imposed under sentencing procedures that

created a substantial risk that it would be inflicted in an arbitrary and capricious

manner.”). Nothing in the 39 years since Gregg has reformulated the underlying issue.




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The only thing that has changed is a mountain of evidence bearing on its resolution that

was unavailable in 1976.

        The main opinion in Furman constituted only an unsigned single paragraph

holding that the death sentences in that and its companion cases could not be squared

with the bar on cruel and unusual punishment imposed by the Eighth Amendment. 408

U.S. at 238-239. Each Justice then wrote separately. Justices Brennan and Marshall

concluded that, in light of the “evolving standards of decency that mark a maturing

society,” 408 U.S. at 269-270, the death penalty could not under any circumstances be

reconciled with the command of the Eighth Amendment. In their view, the death

penalty was unconstitutional per se. 408 U.S. at 257 (Brennan, J., concurring); id. at 314

(Marshall, J., concurring), positions they maintained throughout their remaining

tenures on the Supreme Court.1

        The remaining three justices in the Furman plurality were more flexible. Justices

Stewart, White and Douglas focused on the arbitrary imposition of death sentences. In

an oft-quoted passage, Justice Stewart analogized the randomness of the imposition of

the death penalty to that of being hit by lightning.

                "These death sentences are cruel and unusual in the same
                way that being struck by lightning is cruel and unusual. For,
                of all the people convicted of rapes and murders in 1967 and
                1968, many just as reprehensible as these, the petitioners are
                among a capriciously selected random handful upon whom
                the sentence of death has in fact been imposed. My

1
 E.g.: Stafford v. Oklahoma, 467 U.S. 1212 (1984) (“Adhering to our views that the death penalty is in
all circumstances cruel and unusual punishment prohibited by the Eighth and Fourteenth Amendments,
Gregg v. Georgia, [citation omitted], we would grant certiorari and vacate the death sentence in this
case.”) (Brennan and Marshall, JJ., dissenting from denial of certiorari).



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                concurring Brothers have demonstrated that, if any basis can
                be discerned for the selection of these few to be sentenced to
                death, it is the constitutionally impermissible basis of race.
                See McLaughlin v. Florida 379 U.S. 184 (1964). But racial
                discrimination has not been proved, and I put it to one side.
                I simply conclude that the Eighth and Fourteenth
                Amendments cannot tolerate the infliction of a sentence of
                death under legal systems that permit this unique penalty to
                be so wantonly and so freakishly imposed."

408 U.S. at 309. Chief Justice Burger, accompanied by Justices Blackman, Powell,

Rehnquist and Stevens dissented. As discussed below, two of the four dissenters would

come to see things differently as they saw how the administration of capital punishment

unfolded post-Gregg.

        Because the concurring opinions of Justices Stewart, White and Douglas had not

closed the door on the possibility of devising statutory schemes that might satisfy their

concerns with arbitrariness, several states revised their statutes. The first approach was

a simple fix. The state would simply require the mandatory imposition of capital

punishment upon conviction for certain crimes, thus removing all discretion from the

process.2 The second approach attempted to cabin arbitrariness by specifically directing

the jury’s attention to particular circumstances of the offense - in most schemes

designated “aggravating” or “mitigating” factors. The hope (unfulfilled, as we will see)

was that this approach would remove – or at least significantly minimize - the

happenstance of who is, and who is not, selected for execution.




2
 Even this approach did not eliminate the problem of arbitrariness created by charge-selection and plea
bargaining practices. Infra.



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          On July 2, 1976, the Supreme Court decided five cases, each presenting a

variation on these two categorical approaches to the Furman-arbitrariness concerns. The

mandatory sentencing schemes of North Carolina and Louisiana were found to violate

the Eighth Amendment because they left no room for consideration of such factors as

the defendant’s background and other circumstances, which might otherwise mitigate

the offense. See Woodson v. North Carolina, 428 U.S. 280 (1976); Roberts v. Louisiana, 428

U.S. 325 (1976). But, those of Georgia, Florida and Texas were upheld. Although tacking

differently, each adopted the second approach to arresting the random strike of

lightning envisioned by Justice Stewart. See Gregg v. Georgia, 428 U.S. 153 (1976) (non-

weighing scheme where jury had to find at least one statutorily-enumerated

aggravating factor and then assigned whatever weight it deemed appropriate to

mitigating factors);3 Profitt v. Florida, 428 U.S. 242 (1976)(weighing scheme where jury

also had to find at least one aggravating factor but then weighed the aggravating and

mitigating factors); Jurek v. Texas, 428 U.S. 262 (1976) (instead of aggravating factors, the

definition of “capital murder” was limited to five distinct situations and the jury then

considered three “special issues,” one of which required an assessment of the

defendant’s future dangerousness).

          As a result of Gregg, capital punishment was revived in the United States. But, it

is important to note that Gregg did not repudiate the principal holding of Furman that

the Eighth Amendment bars the imposition of the death penalty if the available



3
    Gregg was the lead opinion and most fully explains the Court’s reasoning.



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evidence suggests it is arbitrarily and capriciously imposed. That principle remains a

core of Eighth Amendment jurisprudence. The collective Gregg cases reflected the

majority’s view, as seen from its perspective in 1976 and with the then-available

knowledge, that the discretionary statutes it was reviewing would eliminate the

arbitrary and capriciousness problem it had identified in Furman. Subsequent events

have pellucidly proven they have not.

      The Supreme Court has not re-visited the per se constitutionality of the death

penalty under the Eighth Amendment since Gregg. During the almost four decades

since, several developments have occurred that have dashed the central premise of that

opinion that schemes could be devised to eradicate the arbitrariness inherent in the

administration of capital punishment. These developments have strengthened the call

for abolition of the death penalty across a broad spectrum of society from secular and

faith-based as well as national and local organizations. See Pilgrim Pathways, Anti-

Death Penalty Organizations in the U.S.,

https://pilgrimpathways.wordpress.com/2011/05/29/anti-death-penalty-

organizations-in-the-u-s/; Elisabeth Povoledo and Laurie Goodstein, Pope Francis

Declares Death Penalty Unacceptable in All Cases), NY Times, Aug. 2, 2018,

https://www.nytimes.com/2018/08/02/world/europe/pope-death-penalty.html

(visited 8-6-18). And, as discussed below, these developments, along with their

experiences with the death penalty, have led several Supreme Court Justices to

reexamine previously-held views that the death penalty is constitutional. See Andrew

Cohen, Why Don’t Supreme Court Justices Ever Change Their Minds in Favor of the


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Death Penalty?, The Atlantic, Dec. 10, 2013 (“No one who digs deeply into these grim

cases ever seems to evolve from being a staunch opponent of capital punishment into

being a fervent supporter of the practice. The movement, over the past 40 years

anyway, has almost always been in the opposite direction: The closer one gets to capital

punishment, the more dubious it appears to be.”).

III.      THE EXPECTATIONS OF GREGG HAVE BEEN UNFILLED: THE
          DEATH PENALTY IS PRESENTLY IMPOSED IN AN ARBITRARY AND
          CAPRICIOUS MANNER

          The touchstone Eighth Amendment inquiry is whether the evidence now

available demonstrates that the death penalty is being “inflicted in an arbitrary and

capricious manner.” Gregg, 428 U.S. at 188 (Opinion of Stewart, Powell, and Stevens,

JJ);4 Kennedy v. Louisiana, 554 U.S. at 436 (2008) (“[D]eath penalty statutes [must] be

structured so as to prevent the penalty from being administered in an arbitrary and

unpredictable fashion),” quoting California v. Brown, 479 U.S. 538, 541, 107 S.Ct. 837, 93

L.Ed.2d 934 (1987). “Arbitrary” in the sense used in Furman-Gregg describes decisions

“existing or coming about seemingly at random or by chance or as a capricious and

unreasonable act of will.” See “arbitrary,” Merriam-Webster.com, 2018,

http://www.merriam-webster.com/dictionary/arbitrary (August 10, 2018). The term

“capriciously” implies unpredictability. See “caprice,” Merriam-Webster.com, 2018,

http://www.merriam-webster.com/dictionary/caprice (August 10, 2018). In sum,




4
    This is the controlling Gregg opinion, as it decided the case on the narrowest ground.


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“arbitrary and capricious” implies an unacceptable level of random, erratic and

irrational decision-making rather than consistent, reliable and dependable judgments.

       The evidence suggests that the imposition of the death penalty runs afoul of

these principles in several ways.

       First, the available evidence suggests that these decisions are unreasonable in the

sense that, when analyzed on a macro-level, they suggest reflect racial, gender and

geographical biases that are the very antithesis of principled judgment. Second,

sentences of death in the United States are unpredictable because there is no discernible

correlation between the egregiousness of the offense and resulting life or death

sentences. The evidence in this regard bears out Justice Stewart’s lightning analogy.

Third, arbitrariness is demonstrated by the widely divergent, inconsistent and often

standard-less exercise of prosecutorial discretion both in the initial decision to charge

and pursue a capital crime and later whether to offer a plea bargain allowing the

offender to avoid the death penalty. Fourth, because there is no demonstrably reliable

method for making such an assessment, the frequent practice of asking a jury to make a

finding as to whether the defendant poses a future danger introduces a random and

unreliable variable into the process. Fifth, the development of forensic and other

evidence in the last four decades has conclusively demonstrated over and over again

that innocent men have been condemned to death - again the antithesis of reliable

decision-making and an unacceptable result in a democratic society.

       A.     Unprincipled Biases in the Administration of the Death Penalty




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                 1.     Racial Disparity

          “Discrimination on the basis of race, odious in all aspects, is especially pernicious

in the administration of justice.” Rose v. Mitchell, 443 U.S. 545, 555 (1979) (discrimination

in selection of grand jury foreman violates Equal Protection). Such discrimination

“strikes at the fundamental values of our judicial system and our society as a whole.” Id.

at 556.

          Numerous studies have documented this racial disparity. See Racial Disparities in

Federal Death Penalty Prosecutions 1988-1994, Staff Report by the Subcommittee on Civil

and Constitutional Rights, Committee on the Judiciary, 103rd Congress, 2nd Session,

March 1994 (finding significant racial disparity on the state level in the selection of

white victims and on the federal level in the selection of those targeted for capital

prosecution); Death Penalty Sentencing: Research Indicates Pattern of Racial Disparities,

GAO/GGD-90-57, Feb. 1990, at 5 (General Accounting Office study on effect of race in

death penalty process: result of synthesis of 28 studies “shows a pattern of evidence

indicating racial disparity in the charging, sentencing and imposition of the death

penalty after the Furman decision”), cited in Glossip v. Gross, __ U.S. __; 135 U.S. 2726,

2760 (2015)(Breyer, J., dissenting) (noting GAO conclusion that 82% of the analyzed

studies found race influenced both the charging and selection decisions in capital cases

where the victim was white and that these studies were “remarkably consistent across

data sets, states, data collection methods, and analytic techniques.”); United States

Department of Justice, Survey of the Federal Death Penalty System, at 2, Table 1A,

Distribution of Defendants Within Each Stage of the Federal Death Penalty Process


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(1995-2000) (64.8% of authorized federal capital prosecutions and 65% of actual death

sentences were rendered against African-Americans or Hispanics), available at

http://www.justice.gov/dag/survey-federal-death-penalty-system; see generally Race

and the Death Penalty, Death Penalty Information Center,

http://www.deathpenaltyinfo.org/race-and-death-penalty (collecting studies)(last

visited 8-10-18).

       These studies reflect an across-the-board consensus that the race of both the

defendant and the victim plays a significant role in the death penalty process from the

prosecutorial decision to pursue a capital prosecution to the ultimate decision by a jury.

Although he reserves the right to do so upon the development of additional evidence,

Mr. Christensen is not arguing here that these studies, standing alone and consistent

though they may be, establish either an Eighth Amendment or an Equal Protection

violation. See McClesky v. Kemp, 487 U.S. 279 (1987) (defendant must prove intentional

discrimination in his particular case). But, irrespective of a causal explanation, at a

minimum the evidence consistently suggests that the race of both the defendant and the

victim plays into the ultimate decision of who is spared and who is not.

       Consideration of race, at any point and by any actor, in the administration of the

death penalty is inconsistent with principled, non-arbitrary decision-making. See Turner

v. Murray, 476 U.S. 28, 36 (1986) (Finding “the risk that racial prejudice may have

infected petitioner's capital sentencing unacceptable . . .”).

              2.     Gender Bias




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       The evidence also suggests that the gender of both the offenders and victims

plays a significant role in the outcome of capital prosecutions. The number of capital

prosecutions against women who commit capital offenses is vanishingly small. This

problem was identified by Justice Marshall in his Furman dissent when he observed the

“overwhelming evidence that the death penalty is employed against men and not

women . . . [although] . . . the purposes allegedly served by capital punishment

seemingly are equally applicable to both sexes.” 408 U.S. at 365. Evidence has confirmed

Justice Marshall’s concern. See e.g., Victor L. Streib, Rare and Inconsistent: The Death

Penalty for Women, 33 Fordham Urb. L.J. 609, 621–22 (2006) (although women constitute

10% of those arrested for murder, they comprise only 2% of those actually sentenced to

death and 1% of those executed), available at

http://ir.lawnet.fordham.edu/cgi/viewcontent.cgi?article=1928&context=ulj.

       Equally problematic, studies have consistently confirmed that the gender of the

victim plays a large role in the outcome of capital cases. See Michael L. Radelet & Glenn

L. Pierce, Choosing Those Who Will Die: Race and the Death Penalty in Florida, 43 Fla. L.

Rev. 1, 25-26 (1991) (defendants in Florida 2.8 times as likely to be sentenced to death

for killing a woman than a man). In a similar study of Illinois, the same authors found

that a defendant was 3.5 times more likely to be sentenced to death for killing a woman

than a man. Id. at 62, n. 131. Similar discrepancies have been found in studies of capital

punishment in Utah, Colorado and California. See generally Shatz and Dalton,

Challenging the Death Penalty with Statistics: Furman, McCleskey, and a Single County




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Case Study, 34 Cardozo L. Rev. 1227, 1251-52 (2013), available at

http://www.cardozolawreview.com/content/34-4/SHATZ.DALTON.34.4.pdf.

                3.       Geographic Bias

        The data also demonstrates a geographical bias, both on a national level in

respect to application of the federal death penalty5 and on a state level with respect to

county-to-county and urban-rural differences. On the federal level, a 2010 study

showed that six out of the 94 federal judicial districts accounted for 1/3 of all death-

authorizations and more than half came from only 14. As for the population of the

federal death row, 40% came from only 7 judicial districts. G. Ben Cohen & Robert J.

Smith, “The Racial Geography of the Federal Death Penalty,” 85 Washington Law

Review 425, 429-430 (2010), available at https://digital.law.washington.edu/dspace-

law/bitstream/handle/1773.1/470/Racial%20Geography%20of%20the%20Federal%20

Death%20Penalty.pdf?sequence=1. Crushing geographic disparities also exist within

individual states that retain the death penalty. Robert J. Smith, The Geography of the

Death Penalty and its Ramifications, 92 B. U. L. Rev. 227, 232 (2012) (8 states account for

2/3 of death sentences from 2004 to 2009), available at

https://www.bu.edu/law/central/jd/organizations/journals/bulr/documents/SMITH_001.pdf.




5
 “The issues at the federal level relate more to the disturbing racial composition of those who have been
convicted and the apparent fact that almost all the convictions are coming out of just a handful of states,
which raises the question of whether, even though there is a uniform law across the country, what your
prosecution is may turn solely on where you committed the crime.” Transcript of the President Clinton
6/28/2000 press conference. See Kevin McNally, Race and the Federal Death Penalty: A Nonexistent
Problem Gets Worse, 53 DePaul L. Rev. 1615, 1622, n. 16 (2004), available at
http://via.library.depaul.edu/law-review/vol53/iss4/9



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And, “even in the most active death-sentencing states most counties do not use the

death penalty with any regularity.” Id., at 232.

               [J]ust 10% of counties in the United States account for all
               death sentences imposed between 2004 and 2009. Even
               within that 10% of counties, the divide between the most
               and least active jurisdictions is stark: only 4% of counties
               (121) in the United States sentenced more than one person to
               death in that period. Those 4% of counties account for
               roughly 76% of the death sentences returned nationally.
               Twenty-nine counties - few than 1% of the counties in the
               country – rendered death sentences at a rate of one or more
               new sentences per year. That 1% of counties accounts for
               roughly 44% of all death sentences.

Ibid., at 233; see also Shatz and Dalton, supra, at 1253-56.6

       Whether these geographical disparities are attributed to racial considerations, see

Cohen and Smith, supra, unequal defense resources, or contrasting attitudes of the

public and prosecutors toward the death penalty, see Glossip, 135 S. Ct. at 2761-62

(Breyer, J., dissenting), the result is the same – arbitrariness imported into the

administration of the death penalty in the United States based on the happenstance of

where the defendant is prosecuted.

       B.      Random Correlation Between Death Sentences and the Offense

       In a non-arbitrary process consistent and reliably predictable results are

expected. As applied to the death penalty, this requires that “capital punishment be

imposed fairly, and with reasonable consistency, or not at all.” Eddings v. Oklahoma,

455 U.S. 104, 112 (1982). The rational expectation is that this ultimate punishment would


6
  Similar disparities in Illinois were found by both the Governor’s Commission on Capital Punishment
and the General Assembly’s Capital Punishment Reform Committee. See Motion to Strike Notice of Intent
to Seek the Death Penalty: Tenth Amendment, at 33.


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be reserved for the most heinous offenses. Instead, several studies have documented

wildly random outcomes, the very essence of arbitrariness. See John J. Donohue III, An

Empirical Evaluation of the Connecticut Death Penalty System Since 1973: Are There

Unlawful Racial, Gender, and Geographic Disparities?, 11 J. Empirical Legal Studies 637

(2014), available at

http://www.readcube.com/articles/10.1111%2Fjels.12052?r3_referer=wol&tracking_action=pre

view_click&show_checkout=1&purchase_referrer=onlinelibrary.wiley.com&purchase_site_licen

se=LICENSE_DENIED_NO_CUSTOMER (visited 8-6-18); Glossip, 135 S.Ct. at 2763

(Breyer, J., dissenting) (studies confirm Justice’s observation that “after considering

thousands of death penalty cases and last-minute petitions over the course of more than

20 years,” he could find “no rational explanation” for such discrepancies.”).

        But this Court need not depend solely on statistical analyses. Just as Justice

Stewart once observed that he could rely on his own eyes in evaluating whether a work

was pornographic,7 the briefest review of the facts and outcomes of a sampling of

federal capital cases shows inexplicable arbitrariness in the decisions to seek the death

penalty, decisions to resolve cases short of trial and outcomes of trials. See Glossip, 135 S.

Ct. at 2763-64 (Breyer, J. dissenting). Attached hereto as Exhibit A is a synopsis of the

results in 43 federal death penalty trials prepared by the Federal Death Penalty

Resource Counsel, an organization created by the Administrative Office of the United


7
 “I shall not today attempt further to define the kinds of material I understand to be embraced within that
shorthand description ["hard-core pornography"], and perhaps I could never succeed in intelligibly doing
so. But I know it when I see it, and the motion picture involved in this case is not that.” Jacobellis v. Ohio,
378 U.S. 184, 197 (Stewart, J., concurring)(emphasis added).



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States Courts, Defender Services Division (now the Office of Defender Services). These

summaries graphically reveal a lack of correlation between the relative egregiousness of

different offenses and the life-death decisions eventually reached. All these offenses are

fairly characterized as “horrendous,” but the results are starkly dissimilar. As with

Justice Stewart when looking at obscene materials, so with arbitrariness in the context of

these results – one knows it when one sees it.

       C.     Arbitrariness Produced by Prosecutorial Discretion

       As one commentator has noted: “[T]he selection process for imposition of the

death penalty begins in the prosecutor’s office.” William Schabas, The Death Penalty as

Cruel Treatment and Torture: Capital Punishment 74 (discussing effect of plea

bargaining on arbitrariness problem in capital cases). Another observes that the most

important factor in determination of a sentence in a capital case is prosecutorial

discretion in both the decision to charge a capital crime and the decision whether to

offer a plea bargain less than death. See Elisabeth Semel, Reflections on Justice John Paul

Stevens's Concurring Opinion in Baze v. Rees: A Fifth Gregg Justice Renounces Capital

Punishment, 43 U.C. Davis L. Rev. 783, 788 (2009), available at:

http://scholarship.law.berkeley.edu/facpubs/989 (visited 8-6-18).

              But discrimination and arbitrariness at an earlier point in the
              selection process nullify the value of later controls on the
              jury. The selection process for the imposition of the death
              penalty does not begin at trial; it begins in the prosecutor's
              office. His decision whether or not to seek capital
              punishment is no less important than the jury's. Just like the
              jury, then, where death is the consequence, the prosecutor’s
              “discretion must be suitably directed and limited so as to
              minimize the risk of wholly arbitrary and capricious action.”


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              [citation omitted]. Instead, the decisions whether to
              prosecute, what offense to prosecute, whether to plea
              bargain or not to negotiate at all are made at the unbridled
              discretion of individual prosecutors. The prosecutor's
              choices are subject to no standards, no supervision, no
              controls whatever. There are, of course, benefits associated
              with granting prosecutors so much discretion, but there are
              also costs. Some of these costs are simply accepted as part of
              our criminal justice system. But if the price of prosecutorial
              independence is the freedom to impose death in an
              arbitrary, freakish, or discriminatory manner, it is a price the
              Eighth Amendment will not tolerate.

DeGarmo v. Texas, 474 U.S. 973 (1985)(Brennan, J., dissenting from denial certiorari).

       Reform commissions have also noted the problem of arbitrariness created by

prosecutorial discretion: See Report and Recommendation on the Administration of the

Death Penalty in California, California Commission on the Fair Administration of

Justice, 102-04, JUNE 30, 2008 (Finding “great variation in the practices for charging

special circumstances, a lack of racial diversity among the individuals who made the

decision, great variation in when the decision was made, and significant variation in the

involvement of the defense in the process.”), available at

http://deathpenalty.org/downloads/FINAL%20REPORT%20DEATH%20PENALTY%20ccfaj

%20June%2030.2008.pdf; Report of the Governor’s Comm. On Capital Punishment, April

15, 2002, at 82 (noting criticisms that Illinois’ procedure “contains no standards

elucidating the criteria to be considered in determining whether or not to seek the death

penalty in a particular case.”), available at

http://illinoismurderindictments.law.northwestern.edu/docs/Illinois_Moratorium_Co

mmission_complete-report.pdf. (visited 8-6-18).



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       And, like the seemingly random results of federal death penalty trials, a

comparison of the facts of other capital-eligible federal cases, where the death penalty

was either not authorized or the defendant was nonetheless allowed to plead to a lesser

sentence, are equally probative of arbitrariness, as suggested by Exhibit B, attached,

which is a synopsis of the facts in a sample of 22 cases prepared by the Federal Death

Penalty Resource Counsel. As can be seen, as a group there is little to distinguish the

facts in these cases from those in Exhibit A where prosecutors proceeded to trial and

sought the death penalty.

       D.     Arbitrariness Induced by Doomed Efforts to Predict Future Danger

       A disturbing trend has developed since Gregg of relying heavily on a jury’s

ability to forecast an offender’s “future dangerousness” to quarantine those selected to

die from those not selected. This futile exercise has introduced another level of

unreliability into the death penalty process.

       In some states juries are required by statute to make a finding concerning future

dangerousness. Although the phrasing may vary, the inquiry is basically the same –

jurors are asked to predict whether the defendant will likely engage in violence in the

future. See e.g.: Jurek v. Texas, supra. In others, and in the federal system, future

dangerousness is frequently cited as a non-statutory aggravating factor. In a federal

case in which the only alternative to death is life without parole, the aggravating factor

of future dangerousness is limited to how the defendant would behave in a prison

setting if incarcerated for life. See Simmons v. South Carolina, 512 US 154,166, n. 5 (1994).

       Between 1995 and 2006, future danger was alleged as non-statutory aggravating


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factor in 77% of federal death penalty prosecutions and a death sentence was imposed

in 80% of cases where future dangerousness was found. Michael L Perlin, Mental

Disability and the Death penalty: The Shame of the States, at 26, Rowman and Littlefield

Publishers, at 26 (2013)

       This data suggests the ascendant importance of a jury’s attempt to assess future

danger. But, the attempt to predict future conduct is a challenging assignment, at best. It

is especially so when attempting to forecast the future danger posed by a defendant in a

controlled prison environment where so many unforeseeable variables are at play,

including correction officials’ decisions as to where, and the conditions under which,

the offender will be housed. As to this task, detailed studies show that juries are

routinely being asked to do the undoable. See Cunningham, M.D., Reidy, T.J. &

Sorenson, J.E., Assertion of “Future Dangerousness” at Federal Capital Sentencing:

Rates and Correlates of Subsequent Prison Misconduct and Violence, 32 Law and Hum.

Behav. 46, 55-57, 59, 61 (2008)(finding no significant difference in the rates of serous

disciplinary infractions between those against whom the government alleged future

danger as an aggravating factor and those against whom it did not); Cunningham,

M.D., Reidy, T.J. & Sorenson, J.E., Capital Jury Decision-Making: The Limitations of

Predictions of Future Violence, 15 Psychology, Public Policy & Law, 223, 239-240, 243 &

Table 4 (2009) (among defendants found to be a future danger but sentenced to life,

jurors’ positive predictions proved wrong more than 2/3 of time); Eugenia T. La

Fontaine, A Dangerous Preoccupation with Future Danger: Why Expert Predictions of

Future Dangerousness in Capital Cases are Unconstitutional, 44 B.C.L. Rev. 207, 233-36


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(2002)(citing studies establishing unreliability of such predictions by mental health

professionals), available at

http://lawdigitalcommons.bc.edu/cgi/viewcontent.cgi?article=2223&context=bclr

(visited 8-6-18); Future Dangerousness Predictions Wrong More Than 95% of the Time,

Death Penalty Information Center, http://www.deathpenaltyinfo.org/node/1099

(visited 8-6-18). The bottom line is clear - there is no proven methodology from which

jurors, or anyone else, can reliably determine which few offenders will engage in violent

conduct in prison. Cunningham Capital Jury Decision-Making, at 227-228, 246.

       Asking a jury to make a critical determination concerning a factor that cannot be

determined with any reasonable degree of accuracy is, by definition, likely to produce

arbitrariness. And, asking a juror to make such troublesome forecasts in a death penalty

case has constitutional implications under the Eighth Amendment. See Roper v.

Simmons, 543 U.S. at 573 (concerning experts’ inability to diagnose whether a juvenile

offender is acting from immaturity or with more malignant mindset: “If trained

psychiatrists with the advantage of clinical testing and observation refrain, despite

diagnostic expertise . . . from [such] assess[ments] . . . we conclude that the State should

refrain from asking jurors to issue a far graver condemnation.”).

       E.     Arbitrariness Resulting From Now-Demonstrated Wrongful
              Convictions

       Perhaps the most breathtaking developments since 1976 regarding the

arbitrariness problem that infects capital cases have been advances in science which

have repeatedly, and often conclusively, shown that several individuals have been



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convicted and sentenced to death when they were, in fact, later shown to be innocent.

As discussed in Mr. Christensen’s Motion to Declare the Federal Death Penalty Act

Unconstitutional As Applied . . . (violates the Tenth Amendment and Principles of

Federalism)(filed 8-24-2018), at 5-20, the alarming number of post-Furman exonerations

in Illinois jump-started the abolition movement in this state. But, the problem has not

been confined to Illinois. Studies have shown this to be an across-the-board nationwide

phenomenon in capital cases. See National Registry of Exonerations, Exonerations in the

United States, 1989-2012, pp. 607 (2012) (citing number of exonerations in capital cases

at 115); Death Penalty Information Center: Innocence List of Those Freed from Death

Row: www.deathpenaltyinfo.org/innocence-and-death-penalty. (visited 8-10-18)

(putting number of exonerations at 162). See also Motion to Declare Federal Death Penalty

Unconstitutional Due to Unacceptable Error Rates (filed 8-24-18).

       While there may be room for argument as to whether the defendant in every

cited exoneration case was factually innocent, DNA evidence, not available at the time

of the Gregg decisions, has put the lie to the Pollyannaish view that innocent people are

not convicted. The notion that all these statistics and exonerations are wrong-headed is

unimaginable. Innocent people have been, and there is no evidence suggesting they will

not continue to be, convicted and sentenced to death. That alone should end the

discussion in a democratic society. And, more disturbingly, it is likely that innocent

people have been executed. See Glossip 136 S.Ct. at 2756 (Breyer, J., dissenting). Just as

the presence of one juror on the panel who would automatically vote for the death

penalty is “one too many,” Morgan v. Illinois, 504 U.S. 719, 734, n. 8 (1922), citing Ross v.


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Oklahoma, 487 U.S. 81, 85 (1988), the wrongful conviction – much less execution - of even

one person is “one too many.”

        Naturally, the unmasking of wrongful convictions through DNA or other

scientific evidence has prompted investigations to determine what went wrong.

Reexamination of the DNA-exoneration cases has brought into sharp focus the roots of

many of these systemic breakdowns, including mistaken eyewitness testimony, perjury

from jailhouse informants or those trying to protect themselves or others, inadequate

investigation and representation by defense counsel and the suppression of evidence by

the police or prosecution. The Illinois cases documented in Mr. Christensen’s Motion to

Strike Death Penalty: 10th Amendment, as well as the summaries of exoneration

compilations referenced above, demonstrate that these flaws are not easily exposed and

the very real risk they may never be.8

        Further complicating matters is that most capital cases do not involve DNA

testimony. Common sense debunks any pie-in-the-sky fancy that these same problems

discovered in the DNA cases do not also present an unacceptable risk of miscarriages in



8
  Rather than demonstrating some divined ability of the “system” to ultimately self-correct, it is clear that
some exonerations occur only as the result of “fortuitous or improbable events.” Warden, How and Why
Illinois Abolished the Death Penalty, 30 Law and Ineq. (Minnesota Journal of Law and Inequality) 245,
247 (2012). When officials attempted to proffer a similar rationalization after one highly-publicized
exoneration, the Chicago Tribune rejoined in an editorial by recounting the work of a network of
“volunteers,” whose work prevented a potentially wrongful execution. “That’s not a ‘system,’ but
happenstance: the charity of concerned strangers and sheer luck.” Editorial, Fatal Flaws of Capital
Punishment, CHI. TRIB., Feb 11, 1999, at 26, cited in Warden, supra, at 257-58. And, of course, the self-
correcting arguments ignore the fact that many of those exonerated often spend years and sometimes
decades on dehumanizing death rows before the miscarriage is brought to light. Infra. If “[E]ven one day
in prison would be a cruel and unusual punishment for the ‘crime’ of having a common cold,” Robinson
v. California, 370 U.S. 660, 667 (1972), so much more so for an innocent individual being imprisoned for
decades under death row conditions.


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the numerous capital cases not involving DNA or other scientific evidence capable of

providing clear-cut exonerations.

       While many of these same concerns are present in any criminal case, two

considerations magnify their importance in criminal cases. First, these reliability-

adulterators are more likely to present themselves in capital cases which are “typically

horrendous murders, and thus accompanied by intense community pressure on police,

prosecutors, and jurors to seek a conviction.” Glossip, 135 S. Ct. at 2757-58 (Breyer, J.,

dissenting) (citations omitted).

       The second differentiating feature is obvious – the finality of the punishment.

This qualitative difference between death and any other punishment resides at the core

of the Eighth Amendment jurisprudence of capital punishment. Justice Stewart’s

observation in Woodson v. North Carolina, 428 U.S. at 305-06, that “the penalty of death is

qualitatively different from a sentence of imprisonment” has been repeatedly

acknowledged in the ensuing years by both the Court, see e.g., Gregg, 428 U.S. at 187

(“the death penalty is unique in its severity and irrevocability.”); Ford v. Wainwright, 477

U.S. 399, 411 (1986)(“this especial concern is a natural consequence of the knowledge

that execution is the most irremediable and unfathomable of penalties.”); Roper v.

Simmons, 543 U.S. at 568 (“Because the death penalty is the most severe punishment, the

Eighth Amendment applies to it with special force.” (citation omitted)); and scholarly

publications. See e.g.: Death-is-Different Jurisprudence and the Role of the Capital Jury, 2

Ohio State Criminal Law 117, available at

http://moritzlaw.osu.edu/osjcl/Articles/Volume2_1/Symposium/Abramson.pdf


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(visited 8-6-18); Deborah W. Denno, Death Is Different and Other Twists of Fate, 83 J. Crim.

L. & Criminology, 437 (1992-1993), available at

http://scholarlycommons.law.northwestern.edu/cgi/viewcontent.cgi?article=6746&context=jclc.

(visited 8-6-18).

          The proposition that the execution of an innocent defendant would violate the

Eighth Amendment cannot be reasonably debated. See Herrera v. Collins, 506 U.S. 390,

417, 419 (1993). (“The execution of a legally and factually innocent person would be a

constitutionally intolerable event.”)(O’Connor, J., concurring); Ibid. at 430 (“[N]othing

could be more contrary to contemporary standards of decency, or more shocking to the

conscience, than to execute a person who is actually innocent.”) (Blackman, J.

dissenting, joined by Stevens and Souter, JJ.). The frequent recital of Justice Stewart’s

observation that “death is different” is thus neither hackneyed nor rhetorical. What

Shakespeare described as “the undiscovered country from whose bourn no traveler

ever returns,”9 is not only a universal truth but also poetical confirmation that the lack

of reliability in a procedure with a demonstrated, non-negligible and potentially non-

remediable risk of condemnation of innocent targets cannot be harmonized with a 21st

Century Eighth Amendment. Cf. Ford v. Wainwright, 477 U.S. 399, 411 (1986)(“ In capital



9
    “Who would fardels bear
    To grunt and sweat under a weary life,
    But that the fear of something after death,
    The undiscovered country from whose bourn
    No traveler returns, puzzles the will
    And makes us rather bear those ills we have
    Than fly to others we know not of?”

    William Shakespeare, Hamlet, Act 3, Scene 1 (Soliloquy), Barnes & Noble Shakespeare (2007).


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proceedings generally, this Court has demanded that fact-finding procedures aspire to a

heightened standard of reliability,” citing Spaziano v. Florida, 468 U.S. 447, 456 (1984)).

IV.     THE UNAVOIDABLE DELAY ASSOCIATED WITH THE
        ADMNISTRATION OF THE DEATH PENALTY VIOLATES THE
        EIGHTH AMENDMENT

        The Eighth Amendment’s prohibition on “cruel and unusual” punishment

reaches beyond the arbitrary and capricious concerns of Furman and Gregg. Widely-

acknowledged uneasiness with the unreliability and fairness of the death penalty

process has resulted in years of delay from conviction to execution, contemplated

neither by Gregg nor the Founding Fathers when the Eighth Amendment was adopted

in 1790. This, in turn, has resulted in years of dehumanizing incarceration on death

rows that presents an additional Eighth Amendment snare, especially in light of the

availability of alternative sentences of life without parole, which do not involve such

protracted delay and which undermines marginal penological justifications for the

death penalty.

        The average time between conviction for a capital offense and executions in 2014

was almost 18 years, an increase of more than 50% just in the last decade and a nine-

fold increase since 1960, when the average interval was two years. And it is not unusual

for a death sentence, if ever carried out, to be done so 25 years or more years after the

conviction. Glossip, 135 S. Ct. at 2764-65 (Breyer, J., dissenting)(citing sources).10



10
  See also, Tr. Oral Argument, Hall v. Florida, Case # 12-10882, March 3, 2013, at 46 (Justice Kennedy
pointing out that “the last ten people Florida has executed have spent an average of 24.9 years on death
row.”), available at http://www.supremecourt.gov/oral_arguments/argument_transcripts/12-
10882_6kh7.pdf . (visited 8-6-18).


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       These delays are unavoidable, “given the special need for reliability and fairness

in capital cases.” Id., at 2770-72 (citing examples where DNA evidence exonerated

defendants who otherwise would have been wrongly executed years before but for the

delays occasioned by necessary appellate and post-conviction review). Justice Breyer

described real-life cases in the Supreme Court where these lengthy delays have avoided

unthinkable mistakes, but the need to avoid sacrificing reliability for swift execution

was perhaps even more eloquently expressed by Gordon (Randy) Steidl, who was

exonerated after 17 years of incarceration, 12 of which were on Illinois’ Death Row. See

Hal Dardick, Inmates Free After 17 Years, CHI. TRIB., May 29, 2004 (Metro), at 16.

Testifying before Illinois legislators some seven years after his release, Mr. Steidl

pointed out: “If you want to kill John Wayne Gacy, you have to kill me, as well.” See

Warden, supra, 245, 269-270 (2012). Translated: the price of a rush to execution increases

the specter of an unthinkable and irremediable miscarriage of justice.

       Such prolonged delays have an Eighth Amendment corollary. Defendants

sentenced to death are normally housed under brutal, approaching barbaric, conditions

on “death rows.” Johnson v. Bredesen, 558 U.S. 1067, 1069 (2009)(Statement of Stevens, J.,

respecting denial of certiorari)(after recounting petitioner’s confinement in a solitary

cell awaiting his execution for nearly 29 years: “the delay itself subjects death row

inmates to decades of especially severe, dehumanizing conditions of confinement.”);

accord Glossip, 135 S. Ct. at 2764-65 (Breyer, J., dissenting). This often entails what

functionally amounts to solitary confinement for years and sometimes decades. See

Davis v. Ayala, 135 S. Ct. 2187, 2208-2210 (2015) (“[I]f his confinement follows the usual


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pattern, it is likely respondent has been held all or most of the past 20 years or more in a

windowless cell no larger than a typical parking spot for 23 hours a day; and in the one

hour when he leaves he likely is allowed little or no opportunity for conversation or

interaction with anyone.”).

       This type of isolation is known to cause a psychiatric syndrome accompanied by

symptoms including perceptual distortions, illusions, hallucinations, panic attacks,

difficulty with thinking, concentration and memory, intrusive obsessional thoughts,

overt paranoia, problems with impulse control and even delirium. Grassian, Psychiatric

Effects of Solitary Confinement, 22 Wash U. J. L. & Policy 325, 333-337 (2006), available at

http://openscholarship.wustl.edu/cgi/viewcontent.cgi?article=1362&context=law_journal_law_

policy (visited 8-6-18); see also In re Medley, 134 U.S. 160, 167-68 (1890) (describing

psychiatric harm occasioned by solitary confinement: “A considerable number of the

prisoners fell, after even a short confinement, into a semi-fatuous condition, from which

it was next to impossible to arouse them, and others became violently insane; others,

still, committed suicide . . .”). Kervin v. Barnes, 787 F.3d 833, 836 (7th Cir. 2015) (citing

studies documenting the “serious psychological consequences” of solitary

confinement).

       Decades-long delay also undermines the deterrence and retribution rationales for

capital punishment. Whether the death penalty is consonant with the “penological

justifications” is relevant to the Eighth Amendment assessment. See Roper v. Simmons,

543 U.S. at 571 (“it is evident that the penological justifications for the death penalty

apply to them [juveniles] with lesser force than to adults.”); Thompson v. McNeil, 556


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U.S. 1114, 1115 (2009)(Statement of Stevens, J., respecting denial of certiorari)

(“[D]elaying an execution does not further public purposes of retribution and

deterrence . . .”).

       As to deterrence, the idea that the unlikely prospect of being executed some 20 or

more years in the future provides more of a deterrent than the far more immediate one

of a definite sentence of life without parole is implausible. Although expressed in the

context of juveniles, the likelihood that an adult offender engages in this kind of “cost-

benefit analysis . . . is so remote as to be virtually nonexistent.” Thompson v. Oklahoma,

487 U.S. 818, 837 (1988). Fanciful reasoning, such as this, is blunted by the severity of

life-without-parole sentences. See Roper v. Simmons, 543 U.S. at 572. And, there is little

question that the Eighth Amendment has a role in constraining punishments justified

by deterrence arguments. The execution of offenders at noon in the public square, al la

Saudi Arabian style, would likely increase the deterrent effect, but such a public

spectacle would hardly be tolerable in light of the Eighth Amendment’s concern for the

“dignity of man.” See Trop v. Dulles, 356 U.S. at 100.

       Execution of offenders after the necessarily drawn-out judicial proceedings also

erodes retributive arguments where the identity and feelings of both the community

and offender may have changed. Glossip, 135 S. Ct. 2769 (Breyer, J., dissenting). If

“justice delayed is justice denied,” the prompt imposition of life without parole

arguably satisfies retribution more than an execution years after many family members

may have passed. Id. And, like deterrence, the Eighth Amendment has something to say

about the limits of retribution, as it forbids punishments that are “cruel and unusual”


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regardless of proffered retribution justifications. This is demonstrated by the fact that

no current Justice seemingly questions the Eighth Amendment’s bar on the deliberate

and infliction of unnecessary pain in executions. See Baze v. Rees, 553 U.S. 35 (2008);

Glossip v. Gross, 135 S. Ct. 2726 (2015). After reviewing the Court’s jurisprudence on

methods of execution in Baez v. Rees, supra, Chief Justice Roberts summed up the

governing principle: “What each of the forbidden punishments had in common was the

deliberate infliction of pain for the sake of pain – ‘superadd[ing]’ pain to the death

sentence through torture and the like.” 553 U.S. at 48. Retribution, without

constitutional constraint, could justify, again a la Saudi Arabian style, cutting off the

hands of thieves, or, as applied to capital punishment, some equally unacceptable

violation of human dignity.

       Justice Kennedy perhaps said it best when he warned of the danger of using the

retribution card in the capital punishment context:

              “It is the last of these, retribution, that most often can
              contradict the law’s own ends. This is of particular concern
              when the Court interprets the meaning of the Eighth
              Amendment in capital cases. When the law punishes by
              death, it risks its own sudden descent into brutality,
              transgressing the constitutional commitment to decency and
              restraint.”

Kennedy v. Louisiana, 554 U.S. at 420.

V.     THIS COURT HAS THE POWER TO, AND BECAUSE OF THE
       DEVELOPMENTS SINCE GREGG SHOULD, DECLARE THAT
       THE DEATH PENALTY IS NO LONGER COMPATIBLE WITH
       THE “EVOLVING STANDARDS OF A MATURING SOCIETY”
       AND THEREFORE VIOLATES THE EIGHTH AMENDMENT




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       A.     The Determination of Contemporary Standards.

       Before turning to the mechanics of determining “contemporary standards

regarding the infliction of punishment,” Woodson v. North Carolina, 428 U.S. 280 (1976),

the question of who makes the determination must be addressed. As discussed below,

the actions of legislatures sheds some light on the issue, but the ultimate resolution is

judicial, as constitutional rights are not auctioned off for majority vote.

              ‘[T]he freedom secured by the Constitution consists, in one
              of its essential dimensions, of the right of the individual not
              to be injured by the unlawful exercise of governmental
              power.’ [citation omitted]. Thus, when the rights of persons
              are violated, ‘the Constitution requires redress by the
              courts,’ [citation omitted], notwithstanding the more general
              value of democratic decisionmaking. This holds true even
              when protecting individual rights affects issues of the
              utmost importance and sensitivity.

Obergefell v. Hodges, 135 S. Ct. 2584, 2605 (2015).

       The meaning of constitutional terms such as what constitutes an “unreasonable”

search or a “speedy trial” are not left to legislatures. The determination of what

constitutes ”cruel and unusual punishment” is no different. The ultimate judgment is

quintessentially a judicial one. While the Court considers “objective indicia of society’s

standards, as expressed in legislative enactment and state practice, . . . the Constitution

contemplates that in the end our judgment will be brought to bear on the question of

the acceptability of the death penalty under the Eighth Amendment.” Kennedy v.

Louisiana, 554 U.S. at 434; see also Roper v. Simmons, 543 U.S. at 575. This, in turn,

depends “upon the standards elaborated by controlling precedents and the Court’s own




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understanding and interpretation of the Eighth Amendment’s text, history, meaning

and purpose.” Kennedy, 554 U.S. at 421.

       Although “consensus is not dispositive” of Eighth Amendment rights, id. at 554,

there are objective indicia which can aid a court in determining contemporary views.

One is the direction of change in state legislatures. “It is not so much the number of

these States that is significant, but the consistency of the direction of change.” Atkins v.

Virginia, 536 US at 315. “Consistent change might counterbalance an otherwise weak

demonstration of consensus.” See also Kennedy, 554 U.S. at 431.

       Clearly, the wind of change in state legislatures since Gregg blows leeward

toward abolition. At the time of Furman, 41 states had enacted the death penalty.

Glossip, 135 S.Ct. at 2773 (Breyer, J., dissenting). At present, only 27 states effectively

have a death penalty, as 19 have abolished the penalty and 4 have governor-imposed

moratoriums. See Death Penalty Information Center, States With and Without the

Death Penalty, http://www.deathpenaltyinfo.org/states-and-without-death-penalty

(visited 8-6-18). Moreover, 7 states (Connecticut, Illinois, Maryland, Nebraska, New

Jersey, New Mexico) have enacted legislation abolishing the death penalty in the past 11

years and one legislature refused to pass a new capital punishment statute after its

Supreme Court declared its statute unconstitutional. Id.

       This trend compares favorably to the shift on execution of juveniles under the

age of 18 at the time of their offenses, when only 5 states had changed their position

between the Supreme Court’s decision sustaining the practice in Stanford v. Kentucky,

492 U.S. 361 (1989), and its ruling sixteen years later in Roper that the practice was


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prohibited by the Eighth Amendment. See Roper, 543 U.S. at 565; Kennedy v. Louisiana,

554 U.S. at 432. And, although this change was significantly less than the 16 states that

had changed their position on mental retardation from the Court’s decision in Penry v.

Lynaugh, 492 U.S. 302 (1989), to its overruling in Atkins v. Virginia, supra, the change of 5

states from Stanford to Roper was nonetheless characterized as “telling” because of its

direction. Roper, 543 U.S. at 565.

        Further corroborating the capital punishment trend is that in the last two

decades only Nebraska has passed legislation to reinstate the death penalty.11 See

Glossip, 135 S. Ct. at 2775 (Breyer, J., dissenting). This “carries special force in light of the

general popularity of anticrime legislation.” Roper, 543 U.S. at 566. And, the fact that

somewhat less than half of the states now prohibit capital punishment similarly

compares with the statistics in Atkins and Roper. In both, after discounting the 12 states

that at the time of those decisions barred the death penalty across-the-board, less than

half of the remaining barred the execution of mentally retarded offenders (Atkins) or

offenders less than 18 years old at the time of their offense. (Roper).12

        The number of states that currently retain the death penalty is also similar to the

number that maintained life-without-parole sentences for juveniles when the Supreme




11
  Nebraska reinstated the death penalty in 1973 after Furman and abolished it in 2015. It was reinstated
again the following year after a referendum. See https://deathpenaltyinfo.org/nebraska-1 (visited 8-10-18).
12
   The statistics were identical in both cases: In each, 12 states barred capital punishment. Of the
remaining 38 capital punishment states only 18, or less than ½, precluded execution of mentally retarded
offenses. Atkins, 536 U.S. at 313-15. And, the same held true in Roper with only 18 of 38 death penalty
states barring execution of juveniles under 18 at the time of their offense. 543 US at 564.



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Court ruled such sentences violate the Eighth Amendment, see Miller v. Alabama, 132 S.

Ct. 2455, 2471 (2012) (28 states and the Federal Government provided for life-without-

parole sentences for some juveniles convicted of murder); and significantly less than the

39 jurisdictions that provided for such sentences in non-homicide cases at the time of

the Court’s similar decision in Graham v. Florida, 560 U.S. 48, 97 (2011)(Thomas, J.,

dissenting).

       These statistics are also comparable to the Court’s decisions in the consensual

same-sex and right-to-marry cases. See Lawrence v. Texas, 539 U.S. 558, 573

(2003)(finding constitutional right of same-sex adults to engage in consensual sex:

number of states that prohibited this activity had been reduced approximately in half

since the Court’s contrary decision in Bowers v. Hardwick, 478 U.S 186 (1986); Obergefell v.

Hodges, 135 S. Ct. 2584, 2615 (2015) (Roberts, C.J., dissenting)(finding constitutional right

of same-sex couples to marry even though the practice was sanctioned by the

legislatures of only 11 states and the District of Columbia).

        This directional change is telling in another way. Inertia is often the safer

political course in dealing with issues of capital punishment. Political expediency based

on fears of a vocal minority trumpeting tough crime measures and attack ads against

anyone purported to be “soft” on crime makes repeal of capital punishment statutes a

hazardous undertaking, even though the statutes may no longer be used, or rarely so.

As a consequence, the practice of death penalty states is as important an indicator as the

fact that the statutes are still on the books. In this regard, statistics show that the

number of persons sentenced to death in this country declined from average of 286 a


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year between 1986 and 1999, to 73 in 2014, and executions declined from 98 in 1999, to

35 in 2014. Further, in 11 states with death penalty, there has been no execution for

more than 8 years. Glossip, 135 S. Ct. at 2773 (Breyer, J., dissenting). This, again, is

persuasive. See Atkins, 536 US at 316 (noting the infrequency of executions of mentally

retarded offenders in the 20 states that did not formally prohibit the practice). “There

are measures of consensus other than legislation. Statistics about the number of

executions may inform the consideration whether capital punishment . . . is regarded as

unacceptable in our society.” Kennedy v. Louisiana, 554 U.S. at 433.

        While constitutional rights are not determined by polls, they offer additional

evidence that public support for the death penalty in this country is trending

downwards. See National Polls and Studies, Death Penalty Information Center,

http://deathpenaltyinfo.org/national-polls-and-studies#Pew;CBS (visited 8-6-

18)(collecting polls, which clearly show declining public support for capital

punishment).13 This is especially true where the shortcomings and miscarriages in the

administration of capital punishment have received extensive media coverage, as in

Illinois. When, in March 2007, the Chicago Tribune reversed the editorial position it had

maintained for 138 years and called for an end to capital punishment, the paper noted

three weeks later that “there [had been] barely a ripple” in opposition. Timothy J.

McNulty, Opinion Shift Passes Quietly, CHI. TRIB., Apr. 10, 2007, at 13. When given the




13
  See E.g.: Poll conducted in April 2015 by Pew Research Center and CBS News showing support in
favor of death penalty at 56%, a “near historic low.” http://deathpenaltyinfo.org/national-polls-and-
studies#Pew;CBS (visited 8-6-18).


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option the death penalty or life without parole, a joint June 2014 poll by ABC News and

the Washington Post showed that Americans preferred the latter by a 52%-42% margin.

See Damila Ergun, New Low In Preference for the Death Penalty, June 5, 2014, available

at http://www.langerresearch.com/wp-content/uploads/1161a4DeathPenalty.pdf (visited 8-6-

18).14

           Finally, the views of the international community shine light on the “evolving

standards of decency that mark the progress of a maturing society.” Thompson v.

Oklahoma, 487 U.S. 815, 830 (1988) (plurality opinion noting that prohibition on

executing offenders less than 16 years old is consistent with the views expressed by

“other nations that share our Anglo-American heritage, and by leading members of the

Western European community.”); Roper v. Simmons, 543 U.S. at 575-76 (noting

“relevance of the views of the international community in determining whether a

punishment is cruel and unusual,” and referencing UN Conventions and other

international agreements). Roper notes that the United Kingdom’s experience “bears

particular relevance here in light of the Eighth Amendment’s own origins.” Id., at 577.

           While the death penalty remains in use in many countries, the trend

internationally is progressing to abolition. See Glossip, 135 S. Ct. at 2775-76 (Breyer J.,

dissenting)(“many nations – indeed, 95 out of 193 members of the United Nations -

have formally abolished the death penalty and an additional 42 have abolished it in

practice,” with only 22 countries in the world carrying out an execution in 2013). In




14
     Without a life without parole alternative, 61% supported for the death penalty. Id.


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resisting this trend, the United States is keeping company neither with its “Anglo-

American heritage,” nor the “leading members of the Western European community.”

The United Kingdom abolished the death penalty in 1965, see generally Frederick C.

Millett, Will the United States Follow England (and the Rest of the World) in Abandoning

Capital Punishment?, 6 Pierce L. Rev. 3 548, 549, available at

https://scholars.unh.edu/unh_lr/vol6/iss3/11/ (visited 8-6-18); and the death penalty

is banned under Article 2 of the Charter of Fundamental Rights of the European Union,

2012/C 326/02, available at http://www.europarl.europa.eu/charter/pdf/text_en.pdf

(visited 8-6-18). Instead, in executing more than ten people in 2013, the United States’

fellow-travellers were China, Iran, Iraq, Saudi Arabia, Somalia, Sudan and Yemen,

Glossip, 135 S. Ct. at 2776 (Breyer J., dissenting), a collection of countries that hardly

reflect contemporary public opinion in this country as to what constitutes “evolving

and maturing” societies.

       B.     The Doctrine of Stare Decisis

       Experience over 40 years has shown that the Gregg approach has not tamed the

arbitrariness problem identified in Furman. But, the question remains: In light of Gregg,

what can this Court do about it?

       Mr. Christensen acknowledges the Court’s obligation to give due consideration

to the doctrine of stare decisis. But the protections afforded by the Eighth Amendment’s

prohibition of cruel and unusual punishment require reconsideration when necessary to

ensure that its underlying values have not become moribund by later developments




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and knowledge. This Court can therefore discount precedent when “special

justifications” are present. Arizona v. Rumsey, 467 U.S. 203, 212 (1984).

              Such justifications include the advent of “subsequent
              changes or development in the law” that undermine a
              decision's rationale, Patterson v. McLean Credit Union, supra . .
              . the need “to bring [a decision] into agreement with
              experience and with facts newly ascertained,” Burnet v.
              Coronado Oil & Gas Co., supra . . . ; and a showing that a
              particular precedent has become a “detriment to coherence
              and consistency in the law . . . ” (citations omitted)

Payne v. Tennessee, 501 U.S. 808, 849, (Marshall, J. dissenting).

       While the above relates to the Supreme Court reconsidering its own precedents,

the doctrine of anticipatory overruling, which allows a lower court to reject precedent

where circumstances have changed, applies to both courts of appeals, see United States v.

City of Philadelphia, 644 F.2d 187, 191-92 (3d Cir. 1980) (declining to follow Wyandotte

Transportation Co. v. United States, finding it “merely one step in the development of

current standards” and refusing to be “blind to subsequent developments. . .”); United

States v. White, 405 F.2d 838, 847-48 (7th Cir. 1969) (declining to follow On Lee v. United

States, even though factually “directly on point” because of subsequent developments);

and to lower courts, especially when called upon to reconsider issues of overriding

constitutional importance. See Barnette v. West Virginia Board of Education, 47 F. Supp.

251 (S.D. West Virginia) (1942) (refusing to follow Supreme Court decision in Minersville

School District v. Gobitis, 310 U.S. 586 (1940), holding that public schools could require

students to salute the flag and recite the Pledge of Allegiance over their religious

objections as Jehovah’s Witnesses), affirmed in West Virginia State Board of Education v.



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Barnette, 319 U.S. 643 (1943) (overruling Minersville School District); Gebhart v. Belton, 87

A.2d 862 (Del. Ch. 1952), affirmed 91 A.2d 137 (De. 1952) (Delaware Chancellor Collins

Seitz (later Chief Judge of the Third Circuit) orders public schools integrated despite

Supreme Court decision in Plessy v. Ferguson, 163 U.S. 537 (1896)), affirmed in Brown v.

Board of Education, 347 U.S. 483 (1954).15

        Finally, this Court would not be a voice in the wilderness in ruling the death

penalty is no longer consistent with the Eighth Amendment. Comments of several

Justices since Gregg support the anticipatory view that, upon full reconsideration, it will

be overruled. When Justice Stevens announced his view, based on “countless” cases,

that the death penalty is “patently excessive and cruel and unusual punishment

violative of the Eighth Amendment,” see Baze v. Rees, 553 U.S. 35, 86 (2008)(Stevens, J.,

concurring in judgment)(citation omitted), he became the fifth Gregg justice to

ultimately come to this conclusion, joining Gregg dissenters, Justices Brennan and

Marshall; Justice Blackmun who announced his view, had changed after 20 years of

experience with capital cases, that the death penalty no longer comports with the Eighth

Amendment and that he would “no longer tinker with the machinery of death,” see

Callins v. Collins, 510 U.S. 1141, 1145 (Blackmun, J., dissenting from denial of certiorari);

and Justice Powell, who expressed a similar change of heart to his biographer. John C.

Jeffries, Jr., Justice Lewis F. Powell, Jr.: A Biography 451 (1994)(Quoting Justice Powell:


15
  Judge Seitz did not directly rule Plessy was no longer good law but instead held that the evidence did
not support Plessy’s underlying assumption that the segregated schools in New Castle, Delaware were
equal. Similarly, there is no need for this Court to say Gregg is no longer applicable. The Court need only
rule that the now-available evidence does not support its underlying assumption that the death penalty can
be imposed in a non-arbitrary and non-capricious manner.


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“I have come to think that capital punishment should be abolished.”). See generally John

Paul Stevens, Six Amendments: How and Why We Should Change the Constitution,

107-123 (2014); Semel, Reflections on Justice John Paul Stevens’ Concurring Opinion in Baze

v. Rees: A Fifth Gregg Justice Renounces Capital Punishment, supra.

          Former Justice Souter also came to doubt the continued constitutionality of the

death penalty in this age of DNA. See Kansas v. Marsh, 548 U.S. 163, 207-08

(2008)(“Today, a new body of fact must be accounted for in deciding what, in practical

terms, the Eighth Amendment guarantees should tolerate, for the period starting in

1989 has seen repeated exonerations of convicts under death sentences, in numbers

never imagined before the development of DNA tests.”).16

          Current Justices have announced similar skepticism. In their dissenting opinion

in Glossip, supra, Justices Breyer and Ginsburg all but said the death penalty cannot in

this day of time be reconciled with the Eighth Amendment. Justice Sotomayor has

similarly expressed a willingness to reconsider prior death penalty decisions. See Mario

Dion Woodward v. Alabama, 134 S. Ct. 405 (2013) (Sotomayor, J., dissenting from denial of

certiorari)(“T]he time has come for us to reconsider” opinions in Spaziano v. Florida, 468

U. S. 447 (1984), and Harris v. Alabama, 513 U. S. 504 (1995) (both upholding judicial

override statutes)).17


16
   Among the examples of exonerations, Justice Souter cited the Illinois experience, where, at the time of
his writing, 13 death row inmates had been exonerated between 1977 and 2000, while only 12 had been
executed during this period. And, like Justices Breyer and Ginsburg in their Glossip dissent, 135 S.Ct. at
2757-58, Justice Souter also observed the data show that "false verdicts" are "probably disproportionately
high in capital cases." Marsh, at 210.

17   Only three years later, the Supreme Court did exactly that. See Hurst v. Florida, 136 S. Ct. 616 (2016).


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       As Justice Sotomayor pointed out, in Roper v. Simmons, supra, the Supreme Court

reconsidered and reversed its decision on the execution of juveniles who committed

offenses under the age of 18 after the passage of only16 years from Stanford v. Kentucky,

supra; and in Atkins v. Virginia, supra, reversed its decision concerning the application of

the Eighth Amendment to those suffering from mental retardation only 13 years after

Penry v. Lynaugh, supra. Woodward, 134 S. Ct. at 407. Here, 42 years have passed since

Gregg. Like the issue concerning the relationship between stare decisis, the passage of

time and changing cultural values presented in Lawrence v. Texas, supra, “our laws and

traditions in the past half century are of most relevance here.” 539 U.S. at 558.

       Mr. Christensen recognizes that Justice Breyer’s opinion in Glossip was a dissent,

as have been some of the other positions of Justices quoted above. But, history has

shown that dissenting opinions are often written by Justices who correctly discern the

direction the law will take in matters of public importance. See Dred Scott v. Sandford, 60

U.S. 393, 529-564, 564-633 (1857)(J. McClean and J. Curtis dissenting from majority

holding that, as a slave, Dred Scott could not sue in federal court, that “Negroes” could

never be citizens of the United States under the Constitution and that Congress had no

power to ban slavery in the territories); The Civil Rights Cases, 109 U.S. 3, 26-62 (1883) (J.

Harlan dissenting from majority holding that 1875 statute passed by Congress as part of

Reconstruction exceeded power granted Congress by the Fourteenth Amendment);

Plessy v. Ferguson, 163 U.S. 537, 552-564 (1896) (Justice Harlan dissenting from majority

holding that “separate but equal” facilities of common carriers violated neither the

Thirteenth nor Fourteenth Amendments); Lockner v. New York, 198 US 45, 65-76 (1905) (J.


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Harlan and J. Holmes dissenting from majority holding that “liberty of contract”

implied in the Fourteenth Amendment voided New York law limiting number of hours

bakers could work, thereby hamstringing legislation designed to ameliorate harmful

social conditions);18 Olmstead v. United States, 277 U.S. 438, 471-85 (1928) (J. Brandeis

dissenting from majority holding that Fourth Amendment not violated by wiretapping

because there was no physical intrusion of defendant’s home and articulating the

concept of a zone of individual privacy protected by the Constitution); Korematsu v.

United States, 323 U.S. 214, 225-272 (1944) (opinions of J. Roberts, J. Murphy and J.

Jackson, dissenting from majority holding that blanket removal of Japanese-Americans

from the West Coast to “detention centers” solely on account of their race did not

violate due process or equal protection guaranteed by the Fifth Amendment); Rudolph v.

Alabama, 375 U.S. 889 (1963) (J. Goldberg dissenting from denial of certiorari in case

involving capital punishment for offense of rape).19 These and many other dissents have

proven throughout our history the importance and influence of a well-reasoned dissent.

The predictive value of such dissents is only enhanced by evidence suggesting, as set

out above, the agreement of several other Justices over a period of years.

VI.     CONCLUSION

        Rather than a slow burn, arbitrariness in the administration of capital


18
  Apropos of the current attitude toward capital punishment, Justice Holmes began his dissenting
opinion: “This case is decided upon an economic theory which a large part of the country does not
entertain.” Id. 75
19
  Justice Goldberg’s dissent is generally regarded as jump-starting the discussion about the
constitutionality of the death penalty, leading to the Court’s decision in Furman. See Evan J. Mandery, A
Wild Justice: The Death and Resurrection of Capital Punishment in America , 23-33 (2013).


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punishment has metastasized into an out-of-control wildfire. No matter the direction

one looks, capital punishment presents seemingly intractable problems. Decisions such

as Roper, Simmons and Kennedy, show that the death penalty is now wobbling on its last

Eighth Amendment leg. Mr. Christensen therefore asks this Court to enter an Order

striking the government’s Notice of Intent to Seek Death.

Respectfully submitted,

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                              CERTIFICATE OF SERVICE

      I hereby certify that on August 24, 2018, I electronically filed the foregoing with

the Clerk of the Court using the CM/ECF system which will send notification of such

filing to Assistant United States Attorneys Bryan D. Freres and Eugene L. Miller and

Trial Attorney James B. Nelson. A copy was also mailed to the defendant.

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EXHIBIT A: SUMMARY OF RESULTS IN FEDERAL DEATH PENALTY TRIALS


• United States v. William Sabalan and Rudy Sablan (D. CO). Two cousins housed at
USP Florence killed their cellmate, eviscerated his body, hung his entrails around the
cell, and, on videotape, display the victim’s heart and liver to responding officers.
Defendants tried separately. Life verdicts in each case.

• United States v. Barry Mills, et al. (C.D. CA). A RICO mega‐indictment targeting 40
members of the Aryan Brotherhood prison gang charged in 17 murders. Initially 27
defendants were death‐eligible and 14 defendants were actually authorized for capital
prosecutions. After two lengthy trials, juries spared the first four defendants facing the
death penalty – the alleged leaders of the gang – and the government withdrew its
efforts to seek a death sentence as to the remaining authorized capital defendants.

• United States v. Howard Smith (E.D. VA). Stabbing death of a Lorton Correctional
Center inmate by a defendant serving 20 to life for a murder committed ten years
previously. Tried and convicted of a lesser included offense.

• United States v. Steven Green (W.D. KY). The 2006 murders of an Iraqi family,
including two children and the rape and murder of the daughter. Tried, convicted,
sentenced to life.

• United States v. Timothy McVeigh (D. CO). The Oklahoma City bombing case. 168
dead. Hundreds injured. Tried, convicted, sentenced to death, executed.

• United States v. Terry Nichols (D. CO). McVeigh’s co‐defendant. Tried, convicted,
sentenced to life.

• United States v. Khalfan Mohamed and Daoud Rashed al`‐Owhali (S.D. NY). Two
defendants associated with Usama bin Laden and al Qaeda convicted in simultaneous
terrorist truck‐bombings in 1998 of two American embassies in East Africa. 224 killed,
including 12 Americans; thousands injured. Tried, convicted, sentenced to life.

• United States v. Zacharias Moussaoui (E.D. VA). Defendant convicted of causing
thousands of deaths in the September 11, 2001 attacks on the United States. Sentenced to
life by jury.

• United States v. Basciano (E.D. NY). Mafia crime boss serving life sentence for RICO
murder accused of another Mafia hit murder. On June 1, 2011, after deliberating for less
than 2 hours, a unanimous jury rejected the death penalty and sentenced Basciano to
life imprisonment.



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• United States v. Thomas Pitera (E.D. NY). Seven drug‐related murders in organized
crime and large‐scale drug trafficking context. Victims tortured and bodies
dismembered. Tried, convicted, sentenced to life.

• United States v. Duong (N.D. CA). Mr. Duong was previously sentenced to death in
California state court for 4 murders that occurred in a nightclub in 1999. Federal
prosecutors in the Northern District of California indicted Mr. Duong in a 29‐count,
multi‐defendant racketeering indictment, alleging 3 capital homicides (arising out of a
string of robberies), and an additional 5 RICO ACT murders. On December 15, 2010, a
federal jury sentenced Anh The Duong to life in prison.

• United States v. Joseph Minerd (W.D. PA). Arson/pipebomb murder of pregnant
girlfriend, her fetus and three‐year old daughter. Tried, convicted, sentenced to life.

• United States v. Coleman Johnson (W.D. VA). Pipe‐bomb used to kill pregnant
girlfriend and their unborn child to avoid child support. Tried, convicted, sentenced to
life.

• United States v. Christopher Dean (D. VT). Defendant sends pipebomb through the
mails killing victim and disfiguring victim’s mother. Plea agreement. Sentenced to life.

• United States v. Billy Cooper (S.D. MS). Car‐jacking double homicide. Tried,
convicted, sentenced to life.

• United States v. Christopher Vialva and Brandon Bernard (W.D. TX). Carjacking
double homicide. Tried, convicted, sentenced to death.

• United States v. Gary Sampson (D. MA). Two murders during separate car‐jackings.
Plead guilty, sentenced to death by jury.

• United States v. Fu Xin Chen, Jai Wu Chen and You Zhong Peng (E.D. NY). Chinese
gang members who kidnap, rape and murder victims held for ransom. Fu Xin Chen and
Jai Wu Chen enter plea agreements. Attorney General withdraws death authorization
shortly before Peng trial. Peng convicted after trial. All three sentenced to life.

• United States v. Louis Jones (N.D. TX). Decorated Gulf War veteran with no prior
record abducts, rapes and kills young woman soldier. Tried, convicted, sentenced to
death, executed.

• United States v. Chevy Kehoe and Daniel Lee (D. AR) Triple murder of two adults
and small child in connection with activities of white supremacist organization. Tried
and convicted together. Kehoe – considered more culpable – sentenced to life. Lee
sentenced to death by the same jury.


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• United States v. Gurmeet Singh Dhinsa (E.D. NY). Millionaire Sikh businessman hires
killers of two employees cooperating with authorities in criminal investigation of
defendant. Tried, convicted, sentenced to life.

• United States v. Trinity Ingle and Jeffrey Paul (W.D. AR). Murder of elderly retired
National Parks employee. Victim shot while bound and gagged. At separate trials, Ingle
is convicted and sentenced to life; Paul is convicted and sentenced to death.

• United States v. Kristen Gilbert (D. MA) VA nurse murders four patients and
attempts to murder three more. Tried, convicted, sentenced to life.

• United States v. LaFawn Bobbitt and Rashi Jones (E.D. VA). Fatal shooting of bank
teller during robbery. Security guard also shot and blinded. Tried, convicted, sentenced
to life.

• United States v. Bille Allen and Norris Holder (W.D. MO). Fatal shooting of bank
teller during robbery. Tried, convicted, and both defendants sentenced to death.

• United States v. Azibo Aquart (D. CT). Three drug‐related murders. Tried, convicted,
sentenced to death.

• United States v. Corey Johnson, James Roane and Richard Tipton (E.D. VA). Eleven
drug‐related murders. Tried, convicted, sentenced to death.

• United States v. Dean Anthony Beckford, Leonel Cazaco, Claude Dennis and Richard
Thomas (E.D. VA). Six drug‐related murders. Tried, convicted, sentenced to life.

• United States v. Alan Quinones and Diego Rodriguez (S.D. NY). Torture murder of
suspected informant. Tried, convicted, sentenced to life.

• United States v. Elijah Williams and Michael Williams (S.D. NY). Execution‐style
triple murder by father and son. Tried, convicted, sentenced to life.

• United States v. German Sinisterra and Arboleda Ortiz (W.D. MO). One drug‐related
murder and one attempted murder. Tried, convicted, sentenced to death.

• United States v. John Bass (E.D. MI). Four drug‐related murders. Tried, convicted,
sentenced to life.

• United States v. Kevin Grey and Rodney Moore (D. DC). Thirty‐one drug related
murders. Tried, convicted, sentenced to life.




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• United States v. Daryl Johnson (N.D. IL). Two drug‐related murders. Tried, convicted,
sentenced to death. Death sentence vacated. Sentenced to life.

• United States v. Tommy Edelin (D. DC). Fourteen drug‐related murders. Tried,
convicted, sentenced to life.

• United States v. Reynaldo Villarreal and Baldemar Villarreal (E.D. TX). Drug‐related
murder of law enforcement officer. Tried, convicted, sentenced to life.

• United States v. Shahem Johnson and Raheem Johnson (E.D. VA). Brothers tried for
five drug‐related murders. Tried, convicted, sentenced to life.

• United States v. Juan Raul Garza (S.D. TX). Three drug‐related murders. Tried,
convicted, sentenced to death, executed.

• United States v. Claude Dennis (E.D. VA). Six drug‐related murders. Tried, convicted,
sentenced to life.

• United States v. Emile Dixon (E.D. NY). Two drug‐related murders, including
machine‐gunning death of suspected informant. Tried, convicted, sentenced to life.

• United States v. Anthony Jones (D. MD). Six drug‐related murders. Tried, convicted,
sentenced to life.

• United States v. Walter Diaz and Tyrone Walker (N.D. NY). Two defendants kill a
drug‐dealer as part of 848 CCE and flee to New York City where, in a failed effort to
steal a car, they shoot and kill a woman in lower Manhattan. Later in same day the
defendants fired at, but missed, a retired school teacher in Coney Island in a failed
armed robbery. Defendant Walker was also found by the jury to have beaten to death
an elderly man during a burglary when Walker was 19 years old. Both defendants tried,
convicted, sentenced to life.




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EXHIBIT B: SUMMARY OF FACTS IN SAMPLING OF FEDERAL CAPITAL-
ELIGIBLE CASES WHERE DEATH PENALTY WAS EITHER NOT SOUGHT OR
DEFENDANT WAS ALLOWED TO PLEAD TO LESSER SENTENCE

• United States v. Michael Wayne Thompson (D. NM). Mr. Thompson was serving a
life sentence for murder in Alabama when he escaped from custody and traveled to
New Mexico, kidnaping several innocent people during his crime spree. After Mr.
Thompson arrived in New Mexico, he and his accomplice kidnaped British Major David
James Graham Nichols and Mr. Thompson ultimately murdered Major Nichols. The
government accepted a life plea offer in that case and Mr. Thompson avoided the death
penalty. Mr. Thompson was then charged within the BOP system (M.D. FL) with a
gang‐related inmate stabbing murder at USP Coleman, which was on video. He was
alleged to be one of the heads of the Aryan Resistance Militia prison gang. The
government did not seek the death penalty.

• United States v. McCullah (M.D. FL). This former federal death row inmate is accused
of the murder of his cellmate at USP Coleman. Authorization was not sought as to
death.

• United States v. Storey (D. KS). Prison inmate with Aryan Brotherhood ties killed
fellow prisoner at USP Leavenworth. Plea agreement. Sentenced to less than life
sentence, 327 months.

• United States v. Douglas Black and Steven Riddle (D. CO). Inmates at USP Florence
attacked two suspected “snitches,” one killed, one injured. Plea agreements.
Substantially less than life sentences: 78 months and 120 months. Black committed a
prior murder.

• United States v. Cleveland White Feather (S.D. IL). Murder at USP Marion by
disembowlment by defendant who was serving a life sentence for murder of an 80 year
old with a baseball bat. The Attorney General rejected a request for authorization to
seek the death penalty.

• United States v. James Ninente Leon Guerrero (E.D. CA). The stabbing death of a
prison guard at USP Atwater. The defendant was serving life for armed robbery and
was previously implicated in the murder of a guard in 1987. Defendant was authorized
and allowed to plead guilty.

• United States v. Shawn Cooya and Ritz Williams (M.D. PA). Stabbing murder on
videotape, motivated by victim’s conversion to Christianity. Williams had a prior
murder conviction. The Attorney General approved a guilty plea as to both defendants.




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• United States v. Gary Watland (D. CO). Stabbing murder by defendant who was
serving 25 years for a previous murder. The Attorney General authorized a guilty plea.

• United States v. Samuel Stone (E.D. CA). Stabbing death by an inmate serving a life
sentence for a prior murder. The Department of Justice did not seek the death penalty.

• United States v. Jeremy Sneed (S.D. IN). While serving a life sentence for murders in
Iowa (a federal case where the defendant was not authorized), Sneed killed an inmate at
USP Terre Haute. He was allowed to plead guilty and was not authorized.

• United States v. Jimmy Benge, Gerald Lee Sizemore and Vernon Renus Delph (E.D.
KY). A witness killing. The death penalty was not sought.

• United States v. Eugene Slone (E.D. KY). A gun murder of two potential witnesses.
The death penalty was not sought.

• United States v. Gary Benton (E.D. KY). A carjacking from a Walmart parking lot of
three people ‐ one was killed. The death penalty was not sought.

• United States v. Ricky Lewis Kelly and Dion Dajuan Neal (W.D. KY). A drug related
RICO murder of a witness. Kelly is suspected of involvement in seven other homicides.
The death penalty was not sought.

• United States v. Joe Logan and Suresh Kumar (W.D. KY). The arson murder of four in
a hotel fire, set to collect insurance proceeds. The Attorney General refused a request to
seek authorization.

• United States v. Patrick Noble and Dominic Palazzola (E.D. KY). The beating death of
an inmate at the Lexington Federal Medical Center. The defendants were allowed to
plead guilty. Noble was sentenced to 97 months and Palazzola was sentenced to 297
months, to run concurrent with the sentence he was serving.

• United States v. Eric Rudolph (N.D. AL). The Olympic and abortion‐clinic bomber.
Victims included a police officer. Arrested after five‐year manhunt. Described by
Attorney General Ashcroft as “America’s most notorious fugitive.” Negotiated guilty
plea for life sentence.

• United States v. Theodore Kaczynski (E.D. CA). The Unabomber. Three murders by
mailbombs. Plea agreement. Sentenced to life.




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• United States v. Johnson (W.D. VA). Mr. Johnson had been indicted for a murder at
USP Lee where he was serving a virtual life sentence when he stabbed another inmate
to death. On March 21, 2012 – after DOJ approval of a life plea – Antonio Johnson
entered a guilty plea.

• United States v. Edgar Diaz and Emile Fort (N.D. CA). Attorney General approved 40
year plea agreements for both defendants, in a case involving seven gang‐related
murders, including (in Mr. Fort's case) the murder of an innocent child.

• United States v. Christopher Dean (D. VT). Defendant sends pipebomb through the
mails killing victim and disfiguring victim’s mother. Plea agreement. Sentenced to life.

• United States v. Azikiwi Aquart (D. CT). Same three drug‐related murders committed
with his brother Azibo. Pled guilty to all three murders with no cooperation agreement,
sentenced to life.

• United States v. Clarence Heatley and John Cuff (S.D. NY). Fourteen drug‐related
murders. Plea agreement. Sentenced to life.

• United States v. Peter Rollock (S.D. NY). Eight drug‐related murders, including some
ordered by defendant while incarcerated. Plea agreement. Sentenced to life.




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